Case 9:20-md-02924-RLR Document 360 Entered on FLSD Docket 03/10/2020 Page 1 of 1
                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA


   IN RE: ZANTAC (RANITIDINE)                                                      MDL NO. 2924
   PRODUCTS LIABILITY                                                               20-MD-2924
   LITIGATION
                                                       JUDGE ROBIN L. ROSENBERG
                                             MAGISTRATE JUDGE BRUCE E. REINHART

   _______________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

                                   PRETRIAL ORDER #8
                 Order Appointing Robert Gilbert to Prepare Conference Agenda
                 and Order Extending the Deadline for the Initial Census Proposal

           The Court appoints Robert Gilbert, Esq. to collaborate with defense counsel to prepare an

   agreed proposed agenda for the conference on March 20, 2020, as follows: (1) Mr. Gilbert shall

   prepare a proposal for the speakers at the conference, (2) Mr. Gilbert shall prepare a proposal for

   the topics to be addressed at the conference, and (3) Mr. Gilbert shall propose an allocation of time

   for each topic presented at the conference. Mr. Gilbert’s proposed agenda shall be emailed in

   Word format to the Chambers email at Rosenberg@flsd.uscourts.gov by noon on Monday, March

   16, 2020. Additionally, by noon on Wednesday, March 18, 2020, Mr. Gilbert shall be responsible

   for ensuring that all materials that will be presented at the conference are provided directly to

   Chambers by electronic delivery, or hand-delivery if electronic delivery is not feasible.

           The Court extends the Initial Census Proposal Deadline from March 16, 2020, to March

   18, 2020, at noon.

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 9th day of March,

   2020.


                                                         _______________________________
                                                         ROBIN L. ROSENBERG
                                                         UNITED STATES DISTRICT JUDGE
